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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

 In the Matter of the Federal Bureau of
 Prisons’ Execution Protocol Cases,

 LEAD CASE: Roane et al. v. Barr
                                                    No. 1:19-mc-00145-TSC
 THIS DOCUMENT RELATES TO:

 Bourgeois v. Barr, et al., 12-cv-0782
 Lee v. Barr, et al., 19-cv-2559
 Purkey v. Barr, et al., 19-cv-03214



                             DECLARATION OF RICK WINTER

I, Rick Winter, do hereby declare and state as follows:

1.     I am employed by the United States Department of Justice, Federal Bureau of Prisons

       (“BOP”), as Regional Counsel for the BOP’s North Central Region. I have held this

       position since October 2016. I have been employed by the BOP since 1994.

2.     The statements I make hereinafter are made on the basis of my review of the official files

       and records of the BOP, my own personal knowledge, or on the basis of information

       acquired by me through the performance of my official duties.

3.     The BOP, under the supervision of the United States Marshals Service, is responsible for

       implementing federal death sentences. See 18 U.S.C. § 3596(a); 28 C.F.R. Part 26.

       Currently, execution dates are in place for four inmates. Specifically, Daniel Lewis Lee’s

       execution is scheduled to occur on Dec. 9, 2019; Wesley Ira Purkey’s execution is

       scheduled to occur on Dec. 13, 2019; Alfred Bourgeois’ execution is scheduled to occur

       on Jan. 13, 2020; and Dustin Lee Honken’s execution is scheduled to occur on Jan. 15,

       2020.

4.     In advance of these dates, the BOP has been, and intends to continue, making necessary

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     arrangements.

5.   Such arrangements include the activation of the execution team, which consists of over 40

     BOP staff members. These staff members will, by necessity, be removed from their normal

     duties, which include a wide range of correctional and administrative positions within the

     BOP. Pursuant to the current operational plan, these staff members are scheduled to cease

     their normal duties several days in advance of a scheduled execution, in order to give the

     team time to practice and prepare for their role in an execution. In addition to the team

     members, a number of BOP administrators will be present as well, also ceasing their

     normal duties in the days in advance of an execution. Logistical items such as travel,

     lodging and personal arrangements have already begun for the two execution dates in

     December.

6.   Additionally, the BOP plans to use contractors who have made themselves available and

     presumably have made any necessary arrangements for personal and work related matters

     based on the executions scheduled in December.

7.   Executions are scheduled to take place at the Federal Correctional Complex at Terre Haute,

     Indiana (FCC Terre Haute). Accordingly, FCC Terre Haute is also mobilizing personnel in

     preparation of the currently scheduled executions. In preparation, FCC Terre Haute has

     also been coordinating with federal, state, and local law enforcement agencies, some of

     whom have indicated their plans to send personnel to FCC Terre Haute to help maintain

     security for the currently scheduled executions.

8.   Approximately 200 FCC Terre Haute staff will serve as institution security and support

     during an execution. With its staff pulled away from their normal duties, FCC Terre Haute

     will not be able to operate under normal conditions. For example, due to expected staffing

     issues and changes in security procedures, FCC Terre Haute will not be able to prepare

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       inmate meals in the ordinary fashion. Instead, the institution plans to prepare food in

       advance for its approximately 2,600 inmates. This alteration in meal preparation comes at

       a greatly increased cost to the BOP.

9.     Additionally, FCC Terre Haute has made arrangements for specific needs related solely to

       an execution, for example contracting for buses which will be used to transport public

       demonstrators who wish to assemble.

10.    Schedules for FCC Terre Haute staff members are currently being created, allocating staff

       based on current execution dates. For additional security and support, specialized BOP

       teams such as Special Operations Response Teams (SORT) and Disturbance Control

       Teams (DCT) will travel to FCC Terre Haute from other BOP institutions. These teams

       consists of approximately 50 individuals. Again, logistical arrangements such as travel and

       lodging have already begun for the current execution dates.

11.    Additionally, BOP has made travel and lodging arrangements for the victims’ family

       members to attend the December executions.

12.    Any adjustment to the execution dates would require significant planning and coordination

       such as that which already has been undertaken by BOP to date.

I declare, under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true and

correct.


Executed this 21st day of November, 2019.

                                                    ____________________________
                                                    Rick Winter
                                                    Federal Bureau of Prisons




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